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                               United States District Court
                                   District of Utah
Gary P. Serdar
Clerk of Court



                                         August 15, 2022



Amber Arnette
Ford Harrison, LLP
271 17th Street NW, Suite 1900
Atlanta, GA 30363
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Re:     Breeze Aviation Group v. National Mediation Board
        2:22-cv-00514-DBB
        Counsel for: Plaintiff

Dear Counsel:

       The above referenced case has been opened in the District of Utah. You must be admitted
pro hac vice in order to appear in this court.

        To move for pro hac vice admission, you must be associated with local counsel. Local
counsel must file the motion for admission pro hac vice, with the application and proposed order
and pay the admission fee on your behalf. You will not be added to the case to receive notice
until the order of the court has been granted and docketed.

        Immediately after local counsel files the motion, you must register for electronic filing
and noticing. Registration can be done online at www.pacer.gov. Detailed instructions for
registering are available on the court’s website.

       Detailed instructions, the form motion for pro hac vice admission, application form, and a
proposed order are available on the court’s website, https://www.utd.uscourts.gov/attorney-
admissions.

        You may contact the attorney registration clerk at 801-524-6100 with any questions.

Sincerely,
Gary P. Serdar, Clerk

By:
INTAKE CLERKMOZELLE HIATT

 Orrin G. Hatch United States Courthouse • 351 S. West Temple, Rm 1.100, Salt Lake City, UT
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